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October 10, 2019

Any award of damages, including punitive damages, would be paid into a special needs trust

for the benefit of Paul Reina. I remind you that the purpose of punitive damages is not

compensation to Mr. Reina.

Judge Peterson
